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                              UNITED STATES BANKRUPTCY COURT
                                           FOR THE
                                 DISTRICT OF MASSACHUSETTS



  In re:
                                                                 Chapter 7
  Thomas G. Dolan.                                               Case No. 19-12386-FJB

                                 Debtor.

                           ORDER ON APPLICATION BY CHAPTER 7 TRUSTEE
                             FOR AUTHORITY TO EMPLOY ACCOUNTANT

      At _____________, in said district this ______ day of _______________, 2020.

      The Application by the Trustee for Authority to Employ Verdolino & Lowey, PC as his

Accountant having come on before me for hearing, sufficient notice having been given, it appearing that

the proposed accountants have or represent no interest adverse to the debtor's estate, and good cause

appearing to me therefore, it is hereby

      ORDERED that the Trustee is hereby authorized to retain the accounting firm of Verdolino &

Lowey, P.C. as the Trustee's accountant in this case. The accountant's fees will be subject to review and

further order of this court after appropriate applications and notice.

                                                             __________________________________

                                                                            BANKRUPTCY JUDGE
